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 2                                 IN THE UNITED STATES DISTRICT COURT
 3                           FOR THE NORTHERN DISTRICT OF CALIFORNIA
 4                                            OAKLAND DIVISION
 5

 6    UNITED STATES OF AMERICA,                             Case No.: 4:20-CR-00266-JST
 7                    Plaintiff,                            [PROPOSED] ORDER RESETTING
                                                            SENTENCING HEARING
 8            v.
                                                            Hearing Date:   June 28, 2024
 9    MICHAEL ROTHENBERG,                                   Hearing Time:   9:30 a.m.
10                    Defendant.
11

12         Based on the stipulation of the parties, the Court hereby resets the sentencing hearing from
13   June 28, 2024 to September 13, 2024 at 9:30 a.m.
14

15         IT IS SO ORDERED.
16

17          May 28, 2024
     DATED:_________________                            ____________________________________
                                                        HONORABLE JON S. TIGAR
18                                                      United States District Judge
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     [PROPOSED] ORDER RESETTING SENTENCING HEARING
     United States v. Rothenberg, 4:20-CR-00266-JST
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